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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                            )
                                                     )
          Plaintiff,                                 )
                                                     )
          v.                                         )        01-cr-40045-JPG
                                                     )
LORENZLE MUNTEZ COLEMAN,                             )
                                                     )
          Defendant.                                 )

                                       MEMORANDUM AND ORDER

          This matter comes before the Court on a pro se Motion for Retroactive Application of Sentencing

Guidelines to Crack Cocaine Offense (Doc. 89).

          On February 14, 2008, the Court entered Administrative Order 102 appointing counsel for the

defendant in response to an earlier Motion for Retroactive Application of Sentencing Guidelines to Crack

Cocaine Offense filed by the defendant. As such the defendant is represented by the Federal Public

Defender. “The right to representation by counsel and self-representation are mutually exclusive.” Cain v.

Peters, 972 F.2d 748, 750 (7th Cir.1992). So-called “hybrid representation” confuses and extends matters at

trial and in other proceedings and, therefore, it is forbidden. See United States v. Oreye, 263 F.3d 669, 672-

73 (7th Cir.2001).

          In this case, the defendant has been granted representation by the Federal Public Defender. He is

free to consult with his attorney in order to ensure that the Court is fully informed as to the specifics of his

case and in order to ensure that the appropriate motions are filed. However, the Court will strike pro se

motions by the defendant so long as he is represented by counsel.

          Therefore, the Court ORDERS the defendant’s pro se motion (Doc. 89) be STRICKEN from the

record.



IT IS SO ORDERED.
Dated: February 29, 2008
                                                              s/ J. Phil Gilbert
                                                              J. PHIL GILBERT
                                                              U.S. District Judge
